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IN THE UNITED STATES DISTRICT COURT = a = D
FOR THE CENTRAL DISTRICT OF ILLINOIS i Caan
SPRINGFIELD DIVISION orp 99 9003
JANE DOE, SLERK OF THE COURT
U.S. DISTRICT COURT,
oF L DISTRICT OF ILL
Vv. No. 18-cv-3191

RICHARD MACLEOD, et al.,

Defendants.

JURY VERDICT FORM

1. We, the jury, find as follows on Plaintiff's claims:

(Place an “X” on the appropriate line for each claim.)

For Plaintiff For Defendant
Margaret Burke X% or
Todd Sexton x or

Defendant Richard MacLeod has already been found liable.

2. We fix Plaintiffs total compensatory damages at

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3. We fix Plaintiff's punitive damages, if any, as follows:

Richard MacLeod $_1B, DAB, BOS. Lows

If you found for Plaintiff against Defendant Margaret Burke and/or
Defendant Todd Sexton in #1, proceed to the following:

We fix Plaintiff's punitive damages, if any, as follows:

Margaret Burke $ SOY, Gage
Todd Sexton $ BAH, BG

We, the jury, having reached a unanimous agreement on

Plaintiff's claims, sign below.

Date: 04. 2 2/to12

s/ Presiding Juror s/ Juror
Prefiding Juror —
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s/ Juror

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